     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5114-24
                                     5114-24      Filed 01/20/17
                                             *SEALED*             Page 1
                                                        Filed 01/20/17   of 7 1 of 7
                                                                       Page




                             Exhibit 18
              FILED UNDER SEAL




                                                                             USCA5 3569
      Case 2:14-md-02592-EEF-MBN
 Case 2:14-md-02592-EEF-MBN      Document
                             Document      5114-24
                                      5114-24      Filed 01/20/17
                                              *SEALED*             Page 2
                                                         Filed 01/20/17   of 7 2 of 7
                                                                        Page

NOMH NEUROSCIENCE CRITICAL CARE                                         ORR,SHARYN
1516 Jefferson Hwy                                                      MRN: 2499666
New Orleans LA 70121-2429                                               OOB:                 Sex: F
Inpatient Record                                                        Acct#:
                                                                        Adm: 4/24/2015



ISTAT PROCEDURE [i671823511 iAtl1'lorm<li} icol1tirweJJ
      DelSys           Adult Vent
      Mode             ACIPRVC
      Vt               450
      PEEP             5
      PiP              26
      Fi02             40
      Min Vol          7.49
      Sp02             100




                                                                                     lab       PWEB



                                          Blood                             04/25/150352

     com~onents
     i§§§i§§§i§§§§§§§§§§§§§§§§§§§§§§§§iBlH§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§iWiIII§§§§§§§§§§§§iDl§§§§iwMI§§§§§§§§§§§§§§§§§§§§§§§§§§§§i§M§§§§§§i
        POCT Glucose           375                                70 - 110 mg/dL     H




                                                                                     lab       PWEB




                                                              I
        POC PH                 7.543                              7.35 - 7.45        H
        POC PC02               41.7                               35- 45 mmHg
        POC P02                249                                80 - 100 mmHg      H
        POC HC03               35.9                               24 - 28 mmol/L     H
        POC BE                 13                                 -2 to 2 mmol/L
        POC SATURATED          100                                95 - 100 %
        02
        POCTC02                37                                 23 - 27 mmol/L     H
        Rate                   16
        Sample                 ARTERIAL
        Site                   LR
        Aliens Test            Pass
        DelSys                 Adult Vent
        Mode                   ACIPRVC
        Vt                     450
        PEEP                   5
        PiP                    27
        Fi02                   50
        Min Vol                7.6


Ma                                                                                       Resulted: 04/25/15 0021 Result status: Final result
                            Ann M. Azcuy, MD 04/24/152336                            lab       OCHSNER BAPTIST MEDICAL CENTER



Generated on 2/2512016 4:27 AM                                                                                                   Page 454




                                                                                                                                    USCA5 3570
                                                                                                                  SOrr-OMC-MD-000459
      Case 2:14-md-02592-EEF-MBN
 Case 2:14-md-02592-EEF-MBN      Document
                             Document      5114-24
                                      5114-24      Filed 01/20/17
                                              *SEALED*             Page 3
                                                         Filed 01/20/17   of 7 3 of 7
                                                                        Page

NOMH NEUROSCIENCE CRITICAL CARE                                   ORR,SHARYN
1516 Jefferson Hwy                                                MRN: 2499666
New Orleans LA 70121-2429                                         OOB:                  Sex: F
Inpatient Record                                                  Acct#:
                                                                  Adm: 4/24/2015



Magnesium [157768021] (continued)                                                Resulted: 04/25/15 0021, Result status: Final result
     Blood                        Blood                                 Dawn M Taverna, RN 04/24/15 2316




      Magnesium             1.8                            1.6-2.6 mg/dL                                                    BALB


                                                                                    Resulted: 04/25/15 0021 Result status: Final result
                        Ann M. Azcuy, MD 04/24/152336                                     OCHSNER BAPTIST MEDICAL CENTER



      Blood                           Blood                             Dawn M Taverna, RN 04/24/15 2316




      Blood                           Blood                             Melissa K. Schmidt, RN 04/24/152316




      Sodium                140                                   136-145 mmol/L                                            BALB
      Potassium             3.1                                   3.5-5.1 mmol/L  L                                         BALB
      Chloride              95                                    95-110 mmol/L                                             BALB
      CO2                   30                                    23-29 mmol/L    H                                         BALB
      Glucose               305                                   70-110 mg/dL    H                                         BALB
      BUN, Bid              51                                    8-23 mg/dL      H                                         BALB
      Creatinine            1.7                                   0.5-1.4 mg/dL   H                                         BALB
      Calcium               9.6                                   8.7-10.5 mg/dL                                            BALB
      Total Protein         7.1                                   6.0-8.4 g/dL                                              BALB
      Albumin               2.6                                   3.5-5.2 g/dL    L                                         BALB
      Total Bilirubin       0.2                                   0.1-1.0 mg/dL                                             BALB
        C,()~n1nent         For infants and newborns, interpretation of results should be based
                            on gestational age, weight and in agreement with clinical
                            observations.
                            Premature I nfant recommended reference ranges:
                            Up to 24 hours ............. <8.0 mg/dL
                            Upto 48 hours ............ <12.0 mg/dL
                            3-5 days .................. <15.0 mg/dL
                            6-29 days ................. <15.0 mg/dL

      Alkaline              208                            55-135 U/L           H                                           BALB
      Phosphatase
      AST                   30                             10-40 U/L                                                        BALB
      ALT                   35                             10-44 U/L                                                        BALB
      Anion Gap             15                             8-16 mmol/L                                                      BALB
      eGFR if African       35                             >60 mL/min/1.73      A                                           BALB
      American                                             m"2
      eGFR if non African   31                             >60 mL/min/1.73      A                                           BALB

Generated on 2/25/2016 4:27 AM                                                                                              Page 455




                                                                                                                               USCA5 3571
                                                                                                             SOrr-OMC-MD-000460
      Case 2:14-md-02592-EEF-MBN
 Case 2:14-md-02592-EEF-MBN      Document
                             Document      5114-24
                                      5114-24      Filed 01/20/17
                                              *SEALED*             Page 4
                                                         Filed 01/20/17   of 7 4 of 7
                                                                        Page

NOMH NEUROSCIENCE CRITICAL CARE                                              ORR,SHARYN
1516 Jefferson Hwy                                                           MRN: 2499666
New Orleans LA 70121-2429                                                    OOB:                    Sex: F
Inpatient Record                                                             Acct#:
                                                                             Adm: 4/24/2015




          American                                                 m"2
                                   Calculation used to obtain the estimated glomerular filtration
                                   rate (eGFR) is the CKD-EPI equation. Since race is unknown
                                   in our information system, the eGFR values for
                                   African-American and Non-African-American patients are given
                                   for each creatinine result.



Tf0

                                                                                             lab:      OCHSNER BAPTIST MEDICAL CENTER



          Blood                               Blood                                Melissa K. Schmidt, RN 04/24/152316




          Troponin I               0.071                              0.000-0.026 ng/mL H                                                     BALB
            C,()~n1nent            The reference interval for Troponin I represents the 99th percentile
                                   cutoff
                                   for our facility and is consistent with 3rd generation assay
                                   performance.




                                                                                             lab:      OCHSNER BAPTIST MEDICAL CENTER



          Blood                               Blood                                Melissa K. Schmidt, RN 04/24/152316

      comionents
      i§§§i§§§i§§§§§§§§§§§§§§§§§§§§§§§§iIlllH§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§lmlilll§§§§§§§§§§§§III\!I§§§§i@II!fli§§§§§§§§§§§§§§§§§§§§§§§§§§§§iUl!l§§§§§§i
          Lipase                   86                                 4-60 U/L               H                                                BALB


                                                                                                 Resulted: 04/25/15 0002 Result status: Final result
                               Ann M. Azcuy, MD 04/24/152336                                 lab:      OCHSNER BAPTIST MEDICAL CENTER



          Blood                               Blood                                Dawn M Taverna, RN 04/24/15 2316

      com~onents
      i§§Eim§§iEm§§mEm§§mEm§§mEE§§§EE§§illlll!§mEm§§mEm§§mEm§§mEE§§§EE§§§EE§§i_ _ §mEm§§mEE§§§i_§§EEi@I'IIII§§mEE§§§EE§§§EE§§§EEm§§mEm§§iE_§§mEE§i
          Prothrombin Time         11.4                               9.0-12.5 sec                                                            BALB
          INR                      1.1                                0.8-1.2                                                                 BALB
            Comment                Coumadin Therapy:
                                   2.0 - 3.0 for INR for all indicators except mechanical heart valves
                                   and antiphospholipid syndromes which should use 2.5 - 3.5.



APTT [157768019]                                                                                 Resulted: 04/25/15 0002, Result status: Final result

Generated on 2/2512016 4:27 AM                                                                                                                Page 456




                                                                                                                                                 USCA5 3572
                                                                                                                             SOrr-OMC-MD-000461
      Case 2:14-md-02592-EEF-MBN
 Case 2:14-md-02592-EEF-MBN      Document
                             Document      5114-24
                                      5114-24      Filed 01/20/17
                                              *SEALED*             Page 5
                                                         Filed 01/20/17   of 7 5 of 7
                                                                        Page

NOMH NEUROSCIENCE CRITICAL CARE                              ORR,SHARYN
1516 Jefferson Hwy                                           MRN: 2499666
New Orleans LA 70121-2429                                    OOB:                 Sex: F
Inpatient Record                                             Acct#:
                                                             Adm: 4/24/2015




                                                                              Resulted: 04/25/15 0002, Result status: Final result
  CICk;(~q )I\w!dc·        Ann M. Azcuy, MD 04/24/152336                            OCHSNER BAPTIST MEDICAL CENTER
       men Collection

     Blood                            Blood                       Dawn M Taverna, RN 04/24/15 2316




     aPTI                    26.6                      21.0-32.0 sec                aPTT therapeutic range = 39-69     BALB
                                                                                    seconds




                                                                  TAVERNA, DAWN 04/24/15 2349




     POC Glucose             308                       70 - 110 mg/dL




  CICk;(~q )I\w!dc·        Ann M. Azcuy, MD 04/24/152300                            OCHSNER BAPTIST MEDICAL CENTER
       men Collection

     Blood                            Blood                       Melissa K. Schmidt, RN 04/24/152316




                             16.62                                        H                                            BALB
                             4.34                                                                                      BALB
     Hemoglobin              10.7                                         L                                            BALB
     Hematocrit              35.3                                         L                                            BALB
     MCV                     81                                           L                                            BALB
     MCH                     24.7                                         L                                            BALB
     MCHC                    30.3                                         L                                            BALB
     RDW                     19.7                      11.5-14.5%         H                                            BALB
     Platelets               467                       150-350 KluL       H                                            BALB
     MPV                     9.3                       9.2-12.9 fL                                                     BALB
     Gran #                  14.4                      1.8-7.7 KluL       H                                            BALB
     Lymph #                 1.4                       1.0-4.8 KluL                                                    BALB
     Mono#                   0.7                       0.3-1.0 KluL                                                    BALB
     Eos#                    0.0                       0.0-0.5 KluL                                                    BALB
     Baso#                   0.Q3                      0.00-0.20 KluL                                                  BALB
     Gran%                   86.8                      38.0-73.0 %        H                                            BALB
     Lymph%                  8.5                       18.0-48.0 %        L                                            BALB
     Mono%                   4.3                       4.0-15.0 %                                                      BALB
     Eosinophil%             0.2                       0.0-8.0 %                                                       BALB
     Basophil%               0.2                       0.0-1.9%                                                        BALB
     Differential Method     Automated                                                                                 BALB




Generated on 2/25/2016 4:27 AM                                                                                         Page 457




                                                                                                                         USCA5 3573
                                                                                                        SOrr-OMC-MD-000462
       Case 2:14-md-02592-EEF-MBN
  Case 2:14-md-02592-EEF-MBN      Document
                              Document      5114-24
                                       5114-24      Filed 01/20/17
                                               *SEALED*             Page 6
                                                          Filed 01/20/17   of 7 6 of 7
                                                                         Page

NOMH NEUROSCIENCE CRITICAL CARE                                   ORR,SHARYN
1516 Jefferson Hwy                                                MRN: 2499666
New Orleans LA 70121-2429                                         OOB:                    Sex: F
Inpatient Record                                                  Acct#:
                                                                  Adm: 4/24/2015



eBe auto differential                                                                  Resulted: 04/24/152343, Result status: In rocess
                        Ann M. Azcuy, MD 04/24/152336                                       Soft Lab Interface Edi 04/24/15 2354 [Other
                                                                                            (CBC with differential was cancelled on
                                                                                            04/24/2015 at 23:53 by T JS; Duplicate
                                                                                            order)]
              lab:      OCHSNER BAPTIST MEDICAL CENTER




      Blood                          Blood                               Dawn M Taverna, RN 04/24/15 2316


                                                                                       Resulted: 04/24/152343 Result status: In rocess
                        Ann M. Azcuy, MD 04/24/152336                                       Soft Lab Interface Edi 04/24/15 2354 [Other
                                                                                            (Basic Metabolic Panel was cancelled on
                                                                                            04/24/2015 at 23:53 by T JS; Duplicate
                                                                                            order, test included in another profile.)]
              lab:      OCHSNER BAPTIST MEDICAL CENTER




      Blood                          Blood                               Dawn M Taverna, RN 04/24/15 2316




                                                    Unknown                 200 First st, SW
                                                                            ROCHESTER MN

   347 - OeLB             OCHSNER MEDICAL           Gregory Sossaman,       1516 Jefferson Hwy           04/21/151023 - Present
                          CENTER - NEW              MD                      New Orleans LA 70121

   379 - BALB             OCHSNER BAPTIST           Barry F. Faust, MD      2700 Napoleon Avenue         04/15/15 1006 - Present
                          MEDICAL CENTER                                    New Orleans LA 70115




                        Ann M. Azcuy, MD 04/24/152334                 Resu!ted by:          Brian A. Ogden, MD
                        04/24/152336 - 04/24/15 2343                             lab        OCHS TALK TECHNOLOGY
                        COMPARISON: None

                        FINDI NGS: There is slightly heterogeneous hyperatlenuation material noted throughout the right ventricle
                        and third ventricle consistent with acute intraventricular hemorrhage. There is associated dilatation of the
                        right greater than left lateral
                        ventricles with otherwise normal caliber of the third ventricle and fourth ventricle. There is associated
                        regional mass-effect upon the right cerebral hemisphere with cortical sulcal effacement, as well as 1.6-cm
                        right to left su bfalcine midline shift.
                         There is mild effacement of the basilar cistern concerning for early uncal herniation. No cerebellar tonsillar
                        herniation.

                        No definite parenchymal hemorrhage seen. No acute cortical infarct seen. No extra-axial mass or
                        hemorrhage along the convexities or within the posterior fossa. Atherosclerotic calcifications of the bilateral

Generated on 2/25/2016 4:27 AM                                                                                               Page 458




                                                                                                                                USCA5 3574
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      Case 2:14-md-02592-EEF-MBN
 Case 2:14-md-02592-EEF-MBN      Document
                             Document      5114-24
                                      5114-24      Filed 01/20/17
                                              *SEALED*             Page 7
                                                         Filed 01/20/17   of 7 7 of 7
                                                                        Page

NOMH NEUROSCIENCE CRITICAL CARE                                 ORR,SHARYN
1516 Jefferson Hwy                                              MRN: 2499666
New Orleans LA 70121-2429                                       OOB:                   Sex: F
Inpatient Record                                                Acct#:
                                                                Adm: 4/24/2015




                     cavernous ICAs.

                     The extracranial structures are unremarkable. No displaced calvarial fractures. Visualized portions of the
                     paranasal sinuses and mastoid air cells are clear.


                     1. Extensive right lateral ventricular acute hemorrhage with extension to the third ventricle without
                     identifiable cause seen, suggesting primary interventricular hemorrhage. There is associated
                     hydrocephalus with significant regional mass-effect upon
                     the overlying right cerebral hemisphere, significant right to left subfalcine midline shift, and probable early
                     right sided uncal herniation. Differential considerations could include underlying right ventricular vascular
                     lesion or
                     intraventricular/solid mass. Further evaluationffollow up as warranted. Neurosurgical consu ltation advised.



                     Critical results. EPIC Notification system activated.

                     Findings were initially observed and immediately discussed with physician assistant Fran kie taking care of
                     patient in the ER at 2352 hours on 4/24/15 by Dr. Ogden.


                     Electronically signed by:   BRIAN OGDEN MD MD
                     Date:                              04/25/15
                     Time:                              0008




                                                                                   Resulted: 04/25/15 0823 Result status: Final result
                                              04/25/15 0341         Resu!ted by:         Erica M. Broussard, MD
                                                                                         Garrett Bennett, MD
  Pml'mn~0j.         04/25/150425 - 04/25/15 0429                                        OCHS TALK TECHNOLOGY
  !'j?xratve         Comparison: CT 4/24/15

                     Technique: Noncontrast head CT with sagittal and coronal reformats.

                     Findings: There is redemonstration of acute blood products occupying the majority of the right lateral
                     ventricle extending into the suprasellar cistern and possibly into the posterior sella. The left lateral ventricle
                     is perSistently prominent. There
                     may be mild right uncal herniation. There is a 1.3 cm of leftward subfalcine herniation. There is cortical
                     edema and sulcal effacement in the right cerebral hemisphere adjacent to the lateral ventricle. The
                     visualized mastoid air cells and paranasal
                     sinuses are clear. There is no fracture.


                     Stable right lateral ventricular hemorrhage with similar leftward midline shift and possible mild right uncal
                     herniation.


                     Electronically signed by:   ERICA BROUSSARD MD
                     Date:                              04/25/15
                                                        0823




Generated on 2/2512016 4:27 AM                                                                                               Page 459




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